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 4
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 5

 6

 7                      IN THE UNITED STATES DISTRICT COURT
 8                        EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,             )     Case No. 13:374 AWI-BAM
                                           )
11         Plaintiff,                      )
                                           )     ORDER TO SET NEW
12                                         )     SENTENCING HEARING DATE
           v.                              )
13                                         )     Date: 9/8/2014 at 10:00 a.m.
     LEOPOLDO RODRIGUEZ,,                  )
14                                         )
           Defendant.                      )
15
           Based on the stipulation between counsel, it is hereby ordered as follows:
16

17         That the sentencing hearing for LEOPOLDO RODRIGUEZ be set for

18   Monday, September 8, 2014 at 10:00 a.m. before the Honorable Anthony W. Ishii,
19
     Judge of the Eastern District.
20
21         Time is waived by defendant under the Speedy Trial Act pursuant to 18

22   U.S.C. 3161(h)(7)(A) and (B)(iv).
23

24

25   IT IS SO ORDERED.

26   Dated: June 27, 2014
                                          SENIOR DISTRICT JUDGE
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     Case 1:13-cr-00374-AWI-BAM Document 47 Filed 06/27/14 Page 2 of 2


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